     Case: 1:10-cv-07633 Document #: 249 Filed: 02/15/12 Page 1 of 2 PageID #:3104




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Plaintiff,                                     )    Case No. 10-cv-07633
                 v.                                )
                                                   )    Judge Matthew F. Kennelly
CAPITAL FIRST REALTY, INC., an Illinois            )
corporation, SUNSET VILLAGE LIMITED                )    Magistrate Judge Jeffrey N. Cole
PARTNERSHIP, an Illinois limited partnership;      )
TCF NATIONAL BANK, a national banking              )
association; L H BLOCK ELECTRIC COMPANY, )
INC., an Illinois corporation, DOHERTY,            )
GIANNINI, REITZ CONSTRUCTION, INC., an )
Illinois corporation, and EAGLE HEATING &          )
COOLING INC., an Illinois corporation, and         )
LAYNE CHRISTENSEN COMPANY, a Delaware )
corporation; and LAYNE-WESTERN, a division of )
Layne Christensen Company, a Delaware              )
corporation,                                       )
                                                   )
     Defendants.                                   )
_________________________________________ )
                                                   )
JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
    Counter-Defendant/Counter-Plaintiff,           )
                                                   )
v.                                                 )
                                                   )
THE KLARCHEK FAMILY TRUST, a Trust                 )
organized under the laws of the State of Illinois; )
JOHN COSTELLO, not individually but solely as )
Trustee of the Klarchek Family Trust; JOHN         )
LOGIUDICE, not individually but solely as Trustee )
of the Klarchek Family Trust; WOLIN, KELTER )
and ROSEN, LTD., an Illinois corporation; BAUCH )
& MICHAELS, LLC, an Illinois limited liability     )
company; CAPITAL FIRST REALTY, INC., an            )
Illinois corporation; CAPITAL HOME SERVICES )
 1
                                          Page 1 of 2
     Case: 1:10-cv-07633 Document #: 249 Filed: 02/15/12 Page 2 of 2 PageID #:3105




CORP., an Illinois corporation; GILSON, LABUS )
& SILVERMAN, LLC an Illinois limited liability )
company; JAY KLARCHEK, an individual,          )
MICHAEL PASHAWITZ, an individual, and          )
SUNSET VILLAGE LIMITED PARTNERSHIP, an )
Illinois limited partnership;                  )
                                               )
    Third-Party Defendants.                    )
                                               )
                                               )


                                            ORDER

        Receiver, Steven S. Spinell, filed his Fourth Receiver Report [Docket #237] on

 January 25, 2012, covering the time period of November 9, 2011 through January 9, 2012, and

 requesting payment in the amount of $26,659.19 for services rendered in October and

 November, 2011;

        No objections were filed with respect to the Fourth Receiver Report;
        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Court

 approves the Fourth Receiver Report and Receiver, Steven S. Spinell, is authorized to make

 payment to himself out of Receivership funds for compensation in the sum of $26,659.19 for

 services rendered in October and November, 2011.




 Date: February 15, 2012
                                             MATTHEW F. KENNELLY
                                             UNITED STATES DISTRICT JUDGE




 2
                                           Page 2 of 2
